UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


In re Application of

TRAFIGURA PTE LTD                                                  41
                                                     No. 25 Misc. _________

For an Order Pursuant to 28 U.S.C. § 1782
To Conduct Discovery for Use in a Foreign
Proceeding



                 DECLARATION OF HUMPREET KAUR GRIGORIADIS

       HUMPREET KAUR GRIGORIADIS declares as follows pursuant to 28 U.S.C. § 1746:

       1.      I am a partner in the law firm Stephenson Harwood LLP, based in London,

England. I am a member of Stephenson Harwood’s fraud and asset recovery team and advise

clients in asset tracing and recovery matters that often span across multiple jurisdictions. I

submit this declaration in support of the application of Trafigura Pte Ltd for an order pursuant to

28 U.S.C. § 1782 to conduct discovery for use in a foreign proceeding.

                       The Trafigura Litigation in the London High Court

       2.      I represent Trafigura Pte Ltd in connection with proceedings captioned Trafigura

Pte Ltd v. Prateek Gupta et al., Claim No. CL-2023-000054, that are currently pending before

the High Court of Justice, Business and Property Courts of England and Wales, Commercial

Court, in London, England. I also represent Trafigura Pte Ltd’s Indian trading affiliate Trafigura

India Pvt Ltd, which is the Second Claimant in those proceedings.              References in this

Declaration to “Trafigura” include both entities as the context requires.

       3.      Trafigura is a leading global commodity trading company incorporated in

Singapore that specialises in the oil and gas, minerals and metals, power and carbon trading, and



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renewable energy markets. The Trafigura litigation in the English court arises out of a scheme

to defraud Trafigura by selling containers that were represented to contain nickel but in fact

contained other, substantially less valuable materials. The defendants are the businessman Mr.

Prateek Gupta (a Dominican citizen who was, until August 2018, an Indian national) and seven

entities which Trafigura contends he is affiliated with (collectively referred to as the “Sellers”,

and together with Mr. Gupta, the “Defendants”). Of the Sellers, Mr. Gupta accepts that he is a

de facto or legal controller of UIL (Singapore) Pte. Ltd., UIL Malaysia Ltd., TMT Metals AG,

ZUG and TMT Metals (UK) Ltd, but denies that he is the de facto or legal controller of Spring

Metal Limited, Mine Craft Limited, and New Alloys Trading Pte. Ltd.

       4.      A true and correct copy of Trafigura’s Claim Form in the English litigation, dated

8 February 2023, is attached as Exhibit A. A true and correct copy of Trafigura’s Particulars of

Claim, served on May 3, 2023, is attached as Exhibit B.              In the following paragraphs, I

summarise Trafigura’s allegations as set forth in those pleadings.

       5.      By a series of contracts entered into between October 2021 and August 2022

(referred to in the Particulars of Claim as the “Master Contracts”), Trafigura agreed to purchase

and one of the Sellers agreed to sell Trafigura specified quantities of high-quality nickel. During

negotiations for each Master Contract, the Sellers represented to Trafigura that they intended

honestly to perform their obligations to deliver nickel as specified in the contracts.

       6.      In the Master Contracts, the parties agreed that the individual sales and purchases

of nickel would be effected by separate shipments of agreed quantities of nickel (referred to in

the Particulars of Claim as the “Cargoes”) in one or more shipping containers. Between 23

September 2021 and 4 July 2022, the parties agreed to and performed about 86 such trades. As

of November 2022, a number of further trades were in process (referred to in the Particulars of

Claim as the “Disputed Trades”), specifically: (i) 100 further trades for which Trafigura agreed

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to resell the nickel back to the Sellers pursuant to repurchase contracts but in respect of which

either the relevant Seller had not paid Trafigura all (or, in the vast majority of cases, any) of the

agreed repurchase price, or the nickel was not subject to a repurchase contract at all; and (ii) 11

further trades (principally proposed and arranged by an affiliate of Mr. Gupta acting, it is

inferred, on behalf of the relevant Seller and/or under the ultimate direction of Mr. Gupta), in

respect of which Trafigura then onsold the nickel to third parties, for which Trafigura was repaid

in full.

           7.   On 9 November 2022, Trafigura inspected certain containers shipped by one of

the Sellers (which had by then been repurchased by another one of the Sellers) and discovered

that the containers did not contain nickel, but rather contained what appeared to be carbon steel,

which was worth only a small fraction of the value of nickel.

           8.   On 22 December 2022, Trafigura inspected another eight containers from another

one of the Sellers. Those containers likewise contained what appeared to be carbon steel rather

than nickel. Based on Trafigura’s further inspections since December 2022, the vast majority of

the containers shipped pursuant to the Master Contracts and/or the Disputed Trades did not

contain nickel – instead, they contained much less valuable or near worthless materials.

           9.   On 8 February 2023, Trafigura issued a claim against Mr. Gupta and the Sellers in

the English High Court by filing the Claim Form attached as Exhibit A. Subsequently, on

3 May 2023, Trafigura filed and served the Particulars of Claim attached as Exhibit B. Amongst

other things, Trafigura (i) alleged claims for fraudulent misrepresentation, deceit, and/or

unlawful means conspiracy; and (ii) sought declarations that it had validly rescinded the

contracts or alternatively rescission of the contracts. In the alternative, Trafigura alleged breach

of contract based on the Sellers’ failure to deliver the material they were contractually obligated

to deliver and sought damages in respect of the same.

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       10.     In addition, as elaborated at paragraphs 36 to 38 of the Particulars of Claim

attached as Exhibit B, Trafigura alleged what are known in English legal practice as

“proprietary” claims. Trafigura’s proprietary claims sought to recover all moneys paid and

credits given to the Sellers in respect of the Disputed Trades as well as all fruits and traceable

proceeds of those moneys or credits. Trafigura alleged (amongst other things) that the Disputed

Trades were vehicles for obtaining moneys from Trafigura fraudulently and under false

pretences, and that beneficial title in the moneys paid (or the value of credit given) by Trafigura

in respect of the Disputed Trades therefore did not pass to the Sellers, but instead remained in

constructive trust for the benefit of Trafigura.

       11.     In February 2023, the English court issued an ex parte worldwide freezing order

against the Defendants. A true and correct copy of the publicly available freezing order dated

24 February 2023 (excluding its confidential schedules) is attached as Exhibit C, with certain

bank account information redacted. The freezing order (amongst other things) prohibits the

Defendants from disposing of, dealing with, or diminishing the value of any of their assets,

whether in or outside England and Wales, up to the value of USD $625 million (subject to

certain exceptions). The freezing order applies to all the Defendants’ assets whether or not they

are in their own name and includes in particular the specified “proprietary funds” for each Seller,

defined as the U.S. dollar amounts which Trafigura paid to each Seller under the relevant

contracts and any fruits and traceable proceeds thereof.

       12.     On 19 May 2023, the English court issued another freezing order, this time

against Mr. Gupta’s wife, Ginni Gupta, preventing her from disposing of certain assets on the

basis that there was reason to believe that she was holding them on behalf of her husband.

       13.     On 12 July 2023, the First to Fifth Defendants (i.e., Mr. Gupta and four of his

companies) filed and served a Statement of Defence in response to the Particulars of Claim dated

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3 May 2023. In that pleading, the First to Fifth Defendants did not deny that they had shipped

containers with worthless or less valuable materials rather than nickel. Instead, they defended

the claim on the ground that the shipments were part of a scheme devised by Trafigura’s own

employees in which those employees asked the Sellers to ship them worthless or less valuable

materials. For completeness, I note that the First to Fifth Defendants have said they intend to

make an application to the court for permission to amend their Statement of Defence and sent my

firm a copy of their proposed amendments in December 2024. The Sixth to Eighth Defendants

have each filed a bare defence to the claim, but have had minimal involvement in the English

proceedings since then and are currently unrepresented.

       14.     The First to Fifth Defendants also moved to discharge the Court’s worldwide

freezing order. On 15 December 2023, following a two-day hearing, the English court denied

the First to Fifth Defendants’ application to discharge the freezing order. A true and correct

copy of that decision is attached as Exhibit D. The First to Fifth Defendants had argued that

Trafigura violated its duty of “full and frank disclosure” when seeking an ex parte freezing order

by not adequately disclosing that certain of Trafigura’s own senior employees supposedly knew

the containers did not contain nickel and therefore that the evidence Trafigura filed in support of

its application for a freezing order was materially misleading. The First to Fifth Defendants

focused in particular on Trafigura’s nickel trader Harshdeep Bhatia in Mumbai and Trafigura’s

head of nickel and cobalt trading Sokratis Oikonomou in Geneva.

       15.     The English court rejected the First to Fifth Defendants’ argument. The English

court was “not satisfied that the materials shown . . . should have put Trafigura on notice that

there was a real possibility that Mr Oikonomou was involved in or knew about the alleged

fraud.” Ex. D ¶ 75. The court added that, “[i]f relevant, I would say the same about Mr Bhatia

and the traders working under him, but it is apparent that enough was said to Foxton J [the judge

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who granted the ex parte freezing order] that he was in any event well aware of the possibility.”

Id. The court accordingly denied the motion to discharge the freezing order.

       16.     Following applications for disclosure made by Trafigura, on 29 February 2024

and 5 March 2024, the English court issued disclosure orders against each of the Defendants.

True and correct copies of the disclosure orders are attached as Exhibit E and Exhibit F,

respectively. The orders required the Defendants to disclose what they have done with the

purchase payments they received from Trafigura. The disclosure orders also required the First to

Fifth Defendants to disclose any substitute property they received in exchange for the money that

Trafigura paid.

       17.     The Defendants’ disclosures in response to these orders is subject to collateral use

restrictions that limit what I can say about the disclosures. That said, to date, the First to Fifth

Defendants have provided minimal disclosure in response to the 29 February order, and the

disclosure they have provided is incomplete in that it does not show the ultimate destination of

the proprietary funds. The Sixth to Eighth Defendants have provided no disclosure in response

to the 5 March order. The result is that Trafigura is unable to ascertain who holds all the funds

that it paid in respect of the Disputed Trades (and/or the fruits or traceable proceeds of the same).

Trafigura’s position is that the Defendants have effectively breached the orders by providing

incomplete disclosure. To date, the Defendants have provided no meaningful explanation for

this breach, other than to say that further disclosure will be provided at the point of giving their

general disclosure in the Proceedings.

       18.     The general disclosure in the English proceedings was initially due on 30

September 2024, but the First to Fifth Defendants have twice sought an extension to that

deadline, and the parties are now due to give disclosure in the Proceedings on 28 February 2025.

To date, the Defendants have failed to adequately engage in the disclosure process and it remains

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unclear what, if any, further disclosure they will give in respect of the ultimate destination of the

proprietary funds. The First to Fifth Defendants have also alleged, in a public hearing which

took place on 13 December 2024, that funding constraints hindered their ability to progress the

disclosure process. They claim to have received some funding in the meantime, but it is not

known whether that funding is sufficient for the purposes of the entire review exercise.

       19.     Under the English court’s current case schedule, witness statements are to be filed

by 16 May 2025, and the case has been scheduled for trial starting on 10 November 2025.

                           The Need for Discovery from U.S. Banks

       20.     To assist with the prosecution of its claims against Mr. Gupta and the Sellers,

Trafigura seeks discovery from U.S. banks that would show where Mr. Gupta and the Sellers

transferred the purchase proceeds they received in exchange for the fraudulent shipments.

       21.     As explained above, one of the claims that Trafigura asserts against the Sellers in

the English litigation is a “proprietary” claim in respect of all moneys paid (and credits given) to

the Sellers in respect of the Disputed Trades. Under English law, a proprietary claim permits a

claimant to recover from a defendant the specific property that the defendant obtained through

fraud or deceit. A proprietary claim also permits the claimant to obtain any fruits and traceable

proceeds of the property that the defendant fraudulently obtained.

       22.     Where the defendant has transferred the claimant’s property to a third party, a

proprietary claim also permits the claimant to seek to recover the property from that third party,

although the claimant’s right to recover may be limited where the third party acquired the

property for fair value without knowledge of the fraud. Proprietary claims are thus “proprietary”

in the sense that they focus on the specific property wrongfully obtained and provide the

claimant with a mechanism for tracing that specific property as it changes hands and ultimately

recovering the property from its ultimate custodian.

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       23.     Trafigura’s efforts to pursue its proprietary claims in the English litigation have

been stymied by the Defendants’ failure to date to provide sufficient information for Trafigura to

determine what they did with all the funds that Trafigura paid in respect of the Disputed Trades

or who currently holds those funds. Absent that information, Trafigura faces severe challenges

locating the funds it paid or their current custodian. As a result, Trafigura cannot fully prosecute

its proprietary claims in the English litigation.

       24.     The U.S. banks from which Trafigura seeks discovery in this Section 1782 action

likely have records that would greatly assist Trafigura in prosecuting its proprietary claims.

       25.     As noted above, and as reflected in the “proprietary funds” charts in Exhibit C, all

the payments that Trafigura made for the fraudulent nickel sales were U.S. dollar transactions.

Therefore, the funds targeted by Trafigura’s proprietary claims are (or, at a minimum, were at

some point in time) in U.S. dollars.

       26.     I have reviewed the list of search terms attached as Exhibit A-1 to Trafigura’s

proposed subpoena in this Section 1782 proceeding. I coordinated the preparation of this search

term list based on investigations conducted at the direction of my firm. Attached as Exhibit G is

a chart listing the proposed search terms in Exhibit A-1 and the justifications for including those

persons and entities on the list of search terms.

       27.     As shown in Exhibit G, the first eight search terms correspond to the eight named

Defendants in the English proceedings. The Defendants are included on the search term list

because records showing payments from them during the relevant timeframe could identify the

specific persons or entities to which the Defendants transferred the purchase proceeds that are the

target of Trafigura’s proprietary claims.

       28.     The remaining search terms in Exhibit A-1 correspond to persons and entities

that, although not named Defendants in the English proceedings, are closely related to those

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named Defendants. Trafigura seeks discovery relating to payments to or from those additional

persons and entities because the named Defendants may have used those related parties to

transfer the purchase proceeds that are the target of Trafigura’s proprietary claims. The chart

attached as Exhibit G explains the justification for including each of those persons and entities

on the list of search terms based on my understanding from the investigations directed by my

firm. Where the findings of the investigations directed by my firm are inconclusive, I make that

clear in the chart attached as Exhibit G and explain the position to the best of my knowledge and

belief at this time.

        29.     If Trafigura’s subpoenas yielded relevant information about what the Sellers have

done with the purchase payments that Trafigura sent them, I believe the English courts would be

receptive to that information in adjudicating Trafigura’s proprietary claims. I am not aware of

any English evidentiary rule that would prohibit the admission of such banking records in the

English proceedings. To the contrary, in my experience, English courts routinely receive this

type of evidence in civil matters.

        30.     As a general principle, if evidence is relevant to the matters in issue, it will be

admissible in an English civil proceeding, and the English courts do not concern themselves with

the manner in which parties choose to obtain evidence. It is well established that a litigant in

English proceedings may invoke the Section 1782 procedure in the United States in an effort to

obtain evidence for use in an English proceeding.         See South Carolina Co. v Assurantie

Maatschappij “De Zeven” Provincien N.V., [1987] 1 AC 24; Royal Bank of Scotland plc v

Hicks, [2011] EWHC 287 (Ch.). Recent examples of the English High Court considering

evidence obtained through the Section 1782 procedure include Federal Republic of Nigeria v

Process & Industrial Developments Ltd., [2020] EWHC 2379 (Comm.), and Tatiana Akhmedova

v Farkhad Teimur Akhmedov, [2019] EWHC 2561 (Fam.). While the English courts have

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occasionally restrained the use of Section 1782, they have done so only where the Section 1782

application is “unconscionable”, for example, where it is was being pursued in a manner that was

disruptive to the English proceedings to the point of being procedurally and forensically unfair

and oppressive. See, e.g., Benfield Holdings Ltd. v Richardson, [2007] EWHC 171 (Q.B.).

       31.     I do not believe that the English court would consider a third-party subpoena

issued under Section 1782 in the present case to be an improper circumvention of any restrictions

on evidence-gathering in the English proceedings.          The English system includes various

provisions for mandatory disclosure of evidence, including documentary evidence, from both

parties and non-parties to the underlying proceedings. For example, pursuant to Rule 31.17 of

the Civil Procedure Rules, the court may order disclosure from a non-party to the proceedings

where documents of which disclosure is sought are likely to support the case of the applicant or

adversely affect the case of one of the other parties to the proceedings.

       32.     In the present case, the English court has issued two disclosure orders to the

Defendants, directing them to reveal the same sorts of financial information that Trafigura now

seeks through Section 1782 discovery. To date, the Defendants have failed to provide sufficient

information for Trafigura to determine who holds all the money that it paid in respect of the

Disputed Trades, which is part of the reason why Trafigura must now resort to discovery from

the U.S. banks directly. Additionally, it is hoped that discovery obtained from the U.S. banks

directly will enable Trafigura to independently trace the payments it made in respect of the

Disputed Trades.

       33.     In short, I believe that Trafigura’s subpoenas are reasonably calculated to identify

evidence relevant to Trafigura’s proprietary claims and that, if the subpoenas are successful in

obtaining such evidence, the English court is likely to be receptive to that evidence in the English

proceedings.

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       I declare under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct.



Executed on January ___, 2025.
London, England                                             Humpreet Kaur Grigoriadis




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